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                   EMERY CELLI BRINCKERHOFF ABADY WARD & MAAZEL LLP
JONATHAN S. ABADY                                                                                 DANIEL M. EISENBERG
MATTHEW D. BRINCKERHOFF                           ATTORNEYS AT LAW                                    VASUDHA TALLA
ANDREW G. CELLI, JR.                            ONE ROCKEFELLER PLAZA
                                                      8TH FLOOR
RICHARD D. EMERY                                                                                         ERIC ABRAMS
                                               NEW YORK, NEW YORK 10020
DEBRA L. GREENBERGER                                                                                   NICK BOURLAND
DIANE L. HOUK                                                                                       HANNAH BRUDNEY
                                                   TEL: (212) 763-5000
DANIEL J. KORNSTEIN                                                                                  SARA LUZ ESTELA
                                                   FAX: (212) 763-5001
JULIA P. KUAN                                                                                BIANCA HERLITZ-FERGUSON
                                                   www.ecbawm.com
HAL R. LIEBERMAN                                                                                  LAURA S. KOKOTAILO
ILANN M. MAAZEL                                                                                       SONYA LEVITOVA
KATHERINE ROSENFELD                                                                                 HAFSA S. MANSOOR
ZOE SALZMAN                                                                                               SANA MAYAT
SAM SHAPIRO                                                                                            VIVAKE PRASAD
EARL S. WARD                                                                                              MAX SELVER
O. ANDREW F. WILSON                                                                                  EMILY K. WANGER
                                                                                                      RACHAEL WYANT
                                                                                                     SYDNEY ZAZZARO




                                                                April 24, 2025

    By ECF

    Hon. Mary Kay Vyskocil
    Daniel Patrick Moynihan
    United States Courthouse
    500 Pearl St.
    New York, NY 10007-1312

                     Re:    American Association of University Professors et al. v. United States
                            Department of Justice et al., 25 Civ. 2429 (MKV)

    Dear Judge Vyskocil:

                    We are counsel to the law professors and First Amendment scholars1 identified in
    Appendix A to the accompanying amicus brief, writing to respectfully move this Court for leave
    to file an amicus curiae brief in the above-captioned matter in support of Plaintiffs’ Motion for a
    Preliminary Injunction. Plaintiffs consent to this motion and Defendants do not oppose.

                    “District courts have broad discretion to permit or deny the appearance of amici
    curiae in a given case.” United States v. Yaroshenko, 86 F. Supp. 3d 289, 290 (S.D.N.Y. 2015)
    (quoting United States v. Ahmed, 788 F. Supp. 196, 198 (S.D.N.Y. 1992)). “The primary reason
    to allow amicus curiae briefing is that the amicus curiae offer insights not available from the
    parties, thereby aiding the Court.” Andersen v. Leavitt, No. 03-CV-6115 DRHARL, 2007 WL
    2343672, at *2 (E.D.N.Y. Aug. 13, 2007) (internal quotation omitted); see also United States v.
    Yonkers Contracting Co., 697 F. Supp. 779, 781 (S.D.N.Y. 1988) (explaining that the court
    granted leave to file an amicus curiae brief “since the additional brief would aid this Court in

    1
      No counsel for a party authored this brief in whole or in part. No party or party’s counsel contributed
    money that was intended to fund preparing or submitting the brief. No person other than amici curiae or
    their counsel contributed money that was intended to fund preparing or submitting the brief.
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evaluating [the pending] motion”). Participation of amicus is especially welcome if the case
“involve[s] matters of public interest.” Andersen, 2007 WL 2343672, at *2 (citation omitted).

                Here, amici’s proposed brief would shed light on the important First Amendment
principles at issue in this case. The law professors and First Amendment scholars who seek to
file this amicus curiae brief have taught courses on freedom of speech, published articles and
books on First Amendment doctrine and history, and dedicated significant attention to the study
of First Amendment protections. Amici submit this brief to assist the Court in considering the
First Amendment issues presented, for which they are uniquely positioned given their decades of
scholarship on the subject.

                The outcome of this case will have profound implications for not just Columbia
University, but other private academic institutions, and the public, too. Defendants violate
longstanding First Amendment principles by threatening the loss of federal funds if Columbia
does not comply with their demands. In so doing, Defendants attempt to control how the
university manages the speech of its students and faculty, how it governs itself, who it admits to
the university, and how it educates. This conduct is not only unconstitutional but threatens
academic freedom more broadly and erodes the foundation of our democracy.

                Amici have a strong interest in the outcome of this case and their scholarship
provides them unique insights into the legal and policy implications at issue. For the foregoing
reasons, the amici identified in Appendix A to the accompanying proposed brief respectfully
request that the Court grant this motion and accept for filing the accompanying amicus curiae
brief.

               We thank the Court for its consideration.


                                                     Respectfully submitted,

                                                            /s/
                                                     Matthew D. Brinckerhoff
                                                     Sara Luz Estela
